                 Case 5:06-cr-00315-NAM                     Document 218        Filed 07/14/08       Page 1 of 1
OAO ___           Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                       NORTHERN                                   District of                    NEW YORK
                                                                      ORDER REGARDING MOTION FOR
            UNITED STATES OF AMERICA                                  SENTENCE REDUCTION PURSUANT TO 18
                                                                      U.S.C. § 3582(c)(2) AND APPOINTMENT OF
                                                                      COUNSEL
                              vs.
                                                                      Case
                                                                      Number:            5:06-cr-0315-012
                   ADIB BRANTLEY                                      USM
                                                                      Number:            13897-052
Date of Previous Judgment:          December 13, 2007                 S. Lance Cimino, Esq.
(Use Date of Last Amended Judgment if Applicable)                     Defendant’s Attorney



Upon motion of : the defendant G the Director of the Bureau of Prisons G the court under 18 U.S.C. § 3582(c)(2) for a
reduction in the term of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and
made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such
motion,

IT IS ORDERED that the motions are:
       : DENIED.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level: 29                  Amended Offense Level:
Criminal History Category: VI               Criminal History Category:
Previous Guideline Range: 151 to 188 months Amended Guideline Range: to months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
G The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
guideline range.
G Other (explain):__________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

III. ADDITIONAL COMMENTS

The reduction pursuant to 18 U.S.C. § 3582 was already calculated into defendant’s sentence, imposed on December13,
2007.


IT IS SO ORDERED.

July 14, 2008
Order Date


Effective Date (if different from order date)
